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Case 2:22-cv-10918-MFL-APP ECF No. 57, PagelD.820 Filed 02/09/23 Page 1 of 294 7 4

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
Elizabeth Nelson
PO Box 1422
WARREN MI 48090 Case No. 2:22-cv-10918
Albert Thrower*
PO Box 6702
Cleveland OH 44101 Judge: MATTHEW LEITMAN
Plaintiffs(s)
-VS- Magistrate: Anthony P. Patti
SERVICE TOWING Inc et al.,
C FILED
Defendants *New Address LERK'S OFFICE
FEB -9 2023
U.S DISTRICT COURT
EASTERN MICHIGAN

NEW PROFFERRED RESPONSE TO MOTION TO DISMISS #38 and/or
MOTION FOR SUMMARY JUDGMENT

Now comes the plaintiff ELIZABETH NELSON=P, ALBERT THROWER=P ,
=Ps’ and move summarv iudement &/or respond to MOTION TO DISMISS #38.
(Ds) DWYER. Commissioner of the Warren Police Dept.. Michaels.

Reichling. Fouts. Gauss . filed a Motion to Dismiss Doc 38. This is (Ps’) response.

b=
Case 2:22-cv-10918-MFL-APP ECF No. 57, PagelD.821 Filed 02/09/23 Page 2 of 24

Per Ex 18, police dept-city Warren website “Police Department (D) Dwyer was
re-appointed Commissioner Warren Police Dept...warren police department
mission statement “to serve... community and protect the lives, rights, and property
of all..people of Warren with integrity, equality, and justice.”.

Per Facts Td 28 3% Amended Complaint rewritten herein, policymaker D Dywer
did not “protect .. lives, rights, ..property .. people of Warren w..integrity, equality,
and justice”, & specifically (Ps’)=Plaintiffs=Nelson & Thrower.

P Nelson decided to protect her interest in 4 cars towed before sold thru
falsified paperwork as “abandoned” by Ds exited “self-isolation”, being “at risk”
“neople of Warren” travel from Cuyahoga County OH, a then low covid county-to
Warren-then high Covid County Macomb 5/2/20, to retrieve 4 licensed, plated,
insured vehicles towed from behind privacy fence, built with Warren Bldg. Dept
permit-during Covid lockdown. Cars towed because “policymaker” Ds’ Dwyer,
Fouts, City attorney Michaels-Van Dyke substation commander Capt Reichling,
Warren Property & Maintenance employee Gauss wrote ticket on property 5/1/21
Ex G pl-2 Td39. This violated P’s rights under US Constitution, 4.5.14"
Amendment. Rather than “protect the lives”, of P Warren Citizen, Ps’ were
exposed Covid rate 7x Ex5 p 1-2 higher rate Macomb County, 16X Death Rate
comparing Cuvahoga County OH. Ex 8 vs Macomb County Ex 9- & exponentialiv

more risk of death/exposure.-since Ps’ “seif-isolating” in Cleveland OH. Neison
Case 2:22-cv-10918-MFL-APP ECF No. 57, PagelD.822 Filed 02/09/23 Page 3 of 24

then 52 yr. old Warren citizen was “told E Mich University Dr Td39, Ex K p2
AFFIDAVIT Ex 4 with P-original signature. P moves to have original signature
Ex 4 apply to Td 39-Ex K Afft. Policymaker Ds failed to control city workers Ds’
re Falsify address 4 vehicles towed from. Refused Ps’ to file a police report as to
towing 4 vehicles and falsification of address on paperwork. Ps’ alleges “custom
and policy” perpetrated by (Ds’) Dwyer, Fouts, Michaels policymakers. Monell v.
Department of Social Services of the City of New York, infra which created.. for
civil rights Ps’ to seek money damages against a city. Pembaur v City of
Cincinnati, infra “Monell.. recovery.. municipality is limited to acts..
‘municipality’-.. acts which municipality has officially sanctioned or ordered.’”.
**1S' Ps’ alleges (D Warren) has an unconstitutional policy. These policies may
written or unwritten, so long as .. attributed to a “policymaker.” Warren has an
unconstitutional policy” &/or towing cars for “blight” entering private property
without search warrant “policymakers.. elected officials (Ds Fouts, Dwyer,
Michaels) or those defined as policymakers by state law (Ds Dwyer, Fouts,
Michaels). This..provides a standard of causation: if a subordinate employee.. party
responsible.. deprivation of rights, ..local entity may only be responsible if a
certain policy was a “moving force” behind their action. This but-for standard ..
2nd a local entity may be liable .. § 1983 for unconstitutional customs and

practices. .. advantageous to a civil rights plaintiff when no policymaker can be
Case 2:22-cv-10918-MFL-APP ECF No. 57, PagelD.823 Filed 02/09/23 Page 4 of 24

identified. ... 3) if a policymaker delegates .. authority to a subordinate employee
or explicitly approves of unconstitutional actions,.. act can be said to be “of the
municipality” by adoption. 4) civil rights plaintiff may allege deliberate
indifference. .. applies to single-incident-type injustices and concerns the city or
county’s failure to hire, train, or supervise its employees. Deliberate indifference
liability attaches when policymakers of ..local entity are aware .. risk and grossly
neglect to address it. Blatant unconstitutional policies are (not) authorized by city
councils.. admissible evidence proving policymaker authorization or adoption of a
subordinate employee’s unconstitutional action is often non-existent” . Ds Dyer,
Fouts, Michaels alleges was a final policymaker] acted under color of state

law; 2. acts of (Ds’) Dwyer, Fouts, Michaels final policymaker deprived P of

rights under United States Constitution. (D) Dwyer, Fouts, Michaels, final
policymaker had final authority from D City Warren concerning these acts. When

Ds’ Dwyer, Fouts, Michaels, final policymaker engaged in these acts, (Gauss,

Reichling) was acting as a final policymaker for D City Warren and acts (Ds’)

Dwyer, Fouts, Michaels, final policymaker caused the deprivation of the plaintiff's

rights; that is, the (Ds’ Dwyer, Fouts, Michaels final policymaker’s acts were so

closely related.. deprivation of P’s rights as to.. moving force that caused ..ultimate
injury. Person acts “under color of state law” when person acts or purports to act

in performance of official duties under any state, county, or municipal law,

Case 2:22-cv-10918-MFL-APP ECF No. 57, PagelD.824 Filed 02/09/23 Page 5 of 24

ordinance or regulation. Monell liability is based on the acts of a final
policymaker. ..other.. Monell liability, Unlawful Official Policy, Practice, or
Custom... Based on a Policy that Fails to Prevent Violations of Law or a Policy of
Failure to Train Monell v. Dep’t of Soc. Servs. of N.Y., 436 U.S. 658, 691. Such
liability attach when official .. who caused a constitutional violation was acting as
“final policymaker.” Lytle v Carl, 382 F3d 978, 981. “hold a local governing body
liable ..official’s conduct, Ps’) must first show .. official (1) had final policymaking
authority concerning.. action ..and (2) was policymaker for local governing body
for purposes of particular act.” Whether .. policymaker for Monell purposes is a
question of state law for the court” City of St Louis v Praprotnik, 485 US 112, 123
.. determination is made on a function-by-function approach analyzed under state
organizational structure. A “policy” is a deliberate choice to follow a course of
action made from among various alternatives by ..official responsible for
establishing final policy” P seeking to establish municipal liability under this
theory.. demonstrate that an action of final policymaker “was the ‘moving force’
behind the constitutional violation Ps’ suffered.” “To meet this requirement, Ps’..
show both causation-in-fact & proximate causation.” Jd. A municipality may be
liable.. acts of a final policymaker if these acts caused a constitutional violation,
even if constitutional violation occurs only once. Pembaur v City of Cincinnati,

475 US 469, 478 municipality is also liable if a policymaking official fully
Case 2:22-cv-10918-MFL-APP ECF No. 57, PagelD.825 Filed 02/09/23 Page 6 of 24

delegates discretionary authority to a subordinate, ..subordinate uses
discretion. City of St. Louis Id. Official may be found to have been delegated final
policymaking authority when the official’s discretionary decision is unconstrained
by policies not of that official’s making and unreviewable by the municipality’s
authorized policymakers” .See Ex 15 10/12/22 Detroit Free Press “This video is
sickening, ...Detroit teen punched, kicked by Warren Police” Warren Police kick
black youth. (Ds’) Dwyer, Fouts, Michaels condones this illegal behavior, &/or §
1983 for unconstitutional customs and practices. Warren police chief D Dwyer
mission statement Ex 18 p 3/8: “Professional .. members..Department will conduct
themselves in a manner that is consistent with professional standards for
performance, .. standards ..adherence to our mission (4/8) and other core values.
We perform our roles ethically .. integrity as we represent Warren Police
Department, .” (Ds) Dwyer, Fouts, Michaels, Reichling, Gauss involved in Ps’
facts does not comply w Warren police dept mission statement. Ps’ avers (Ds)
Dwyer, Fouts, puts same on paper, but “custom and policy” does not train officers
to adhere to Mission Statement.

(Ds) Dwyer, Fouts, Michaels, Gauss, Reichling, allege a 1* time defense of
“blight” abandoning “MI Abandoned Vehicle defense” “Warren City Ordinance
Sec. 2.5-7 (Ord. No. 80-731, Sec 1, 8-11-15)” Doc 41 filed 10/10/22 @ pg. 4,

Codes not annexed Td38 Motion to Dismiss or any Ticket with Ps’ name on. “The

Case 2:22-cv-10918-MFL-APP ECF No. 57, PagelD.826 Filed 02/09/23 Page 7 of 24

purpose .. ensure compliance Warren Code of Ordinances designated as blight
violations. “previous enforcement mechanisms were not ensuring blight
violation code compliance”, hence “Sec 2.5-7 Ord. No. 80-731, ..read in para
materia with the previous Ord. 8-11-15 Sec. 2.5-2. - Definitions. Blight
violation. A violation of a provision of the Code of Ordinances, including

appendices, which is designated as a blight violation.”

Ps’ states unconstitutional-since “blight” never defined so a person would
understand “blight” under “void for vagueness” doctrine. Or absent a
definition, common meaning “blight” must be accepted. “The void-for-
vagueness doctrine ..uncertain laws, .. criminal or civil, violate due process
and cannot be enforced. .. based on individual rights and one based on
constitutional structure” “Definition. ..criminal law, a declaration ..law is
invalid because it is not .. clear. Laws are .. found void for vagueness if, ..
punishment, law does not specify what is required or what conduct is
punishable” “ Vague laws raise problems with due process”. Connally v.

General Construction Co 269 US 3835 law is unconstitutionally vague when

people “of common intelligence must guess at its meaning.” .. unduly vague
it raises problems under Due process guarantee, ..applicable to federal
government 5..14" Amendment”. Definition “blight” is a violation of

criminal statute, .. “up to 93 days”. 2"“-if statute not define a word, “blight”

Case 2:22-cv-10918-MFL-APP ECF No. 57, PagelD.827 Filed 02/09/23 Page 8 of 24

everyday meaning must be used. “Words .. everyday meanings” Canons
Construction Galia Gardner. 3", criminal statute, “rule of lenity” applies
“principle of criminal statutory interpretation .. requires a court to apply any
unclear .. law in the manner that is most favorable.. defendant.” In re
“blight” definition to not include licensed, plated, insured vehicles.
Holloway v. United States, 526 US 1, 21 Statute cited Ds’ Dwyer, thru his
policy making authority as Police Commissioner Td39 ExQ-previous
Warren police Commissioner Nichols contract p 5 “Police Commissioner
.-head of Police Dept, shall organize & conduct.. affairs ..dept preservation
of quiet and good order of the city and safety of persons and property
therein.. is the policy” i.e. D Dwyer “policymaker”- nowhere allow D
Reichling, Gauss enter private property to remedy “undefined” “blight”
violation-which under their definition includes licensed, plated, insured

vehicles during Covid lockdown. “Ifthe alleged violator was served proper

notice” Ps’ never served Notice infraction, P NELSON being renter 7568
Hudson, P THROWER manager -any notice US Constitutionally defective
under 4, 5,14" Amendments not include P NELSON name owner 4 cars
5/1/21. Ex A, Td 39 P NELSON driver’s license listing 7568 Hudson
Warren, Td 39 Ex C lease. Ex4 Afft P Ex K p 1-2 Doc 39 WHO (World

Health Organization) declared covid a Worldwide Pandemic 2/20 Ex 1 Ds’

8
Case 2:22-cv-10918-MFL-APP ECF No. 57, PagelD.828 Filed 02/09/23 Page 9 of 24

Michaels, Dwyer, Reichling, Fouts, Gauss, did not delineate this -as cars
could have belonged to multiple parties not listed in any alleged ticket in
violation of Supremacy Cl United States Constitution: Art VI, Para 2
assuming arguendo (Ds’) aver Warren Ord gives carte blanc enter private
property, seize cars without search warrant as “equitable relief” then
ordinance in violation 4,5,14 Amendment US Constitution, because does
not state owner car be identified & given constitutional notice. Law Insider
definition “blight”: “Blight means areas .. with obsolete or inadequate
infrastructure, ..building structures are dilapidated”. As a matter of
fact/law, cars do not meet the definition of “abandoned vehicles”...

misdemeanor (90) days. Ex 23 (D).. Fouts prepares for influenza..covid,

dated 2/26/20, 10 days before any alleged hearing. Pg 3,“Our residents can
feel at ease knowing that their health and well-being is now and always
will be my number one priority. my administration, beginning with Police
Commissioner (D) Bill Dwyer.. are working to ensure your safety..”. (D)
Dwyer (D) Warren police officers Reichling: are not “D Dwyer..working to
ensure your safety..”, Ex 23, pg 3, (D) Mayor Fouts Press Statement
2/26/20. Ps’ were exposed a minimum 7X increased Covid exposure rate,
16x more likely to die as calculated infra: New York Times data collected

from state Health and County Health Departments. Per Ex 5 “May 2,

Case 2:22-cv-10918-MFL-APP ECF No. 57, PagelD.829 Filed 02/09/23 Page 10 of 24

2020” when (Ps’) left Cuyahoga County, OH, New York Times Tracking

Coronavirus “Daily Average 63...” cases, of COVID 19. Per Ex 5 pg 5 pg

2,“May 2, 20, “Daily average (deaths) 3.4 New Deaths 0”, Cuyahoga
County, Oh. Per Ex 12, Cuyahoga County Pop. 1.241 million 2020. Per Ex
11, Macomb County Population 870,893 2020, Ex 6 Macomb County

“May 2, 20: “Daily Average 77” Covid cases. Hence, Macomb, with 1/3

less population-had+14 new Covid cases day 5/2/20 than Cuyahoga
County. Per Ex 5 pg. 2, “May 2, 20 Daily Average 3.4 New deaths 0”
Cuyahoga County. Per Ex9 “May 2, 20 Daily Average 16 New deaths
11” Macomb County, showing increased risk (Ps’)16X+ Death Rate-
adjusted 30% more population. Ps’ were “self-isolating” Cleveland having
to exit single family home creating infinite increase in Covid exposure.
Ds’ Dwyer, Fouts, Michaels, Captain Reichling, Gauss should have as MI
abandoned statute reads, ran plates, vin, and determined owner 52 yr old
(P) “at risk” individual as defined by covid emergency orders, Ex 25
4/2020 Dept of Human Services guidelines, and if they did not “egg shell”
theory tort law applies:“ Torts. Under eggshell-skull rule,..defendant is
liable for all injuries caused by his tortious conduct, even if (Ps’) suffers an
unusually high level of damage e.g., due to a pre-existing vulnerability). The

rule is supported by the axiom “defendant must take a plaintiff as he finds

10
Case 2:22-cv-10918-MFL-APP ECF No. 57, PagelD.830 Filed 02/09/23 Page 11 of 24

him” Vosburg v Putney, 80 Wis 523 seminal case eggshell rule. Prosser,

Handbook Law of Torts § 43, 261 Restatement 3d of Torts: Liability for

Physical and Emotional Harm, § 31, Ex 25 4/20 Dept Health Human Serv

“staying at home during coronavirus crisis ‘to avoid being exposed to the
coronavirus, it is important for everyone to stay at home during coronavirus
crisis.. immune systems weaken with age, making it harder to fight off
infectious diseases. Cancer treatment (which Ps’ had in past & P Thrower
was being treated @ METROHEALTH CLEVELAND OH radiation 5x
week) ...weaken immune system .. harder.. body to fight off virus..stay

home”. Ex 26 (D) Fouts covid “health and safety of residence is our

priority”. Yet (Ds) Fouts, Dwyer, Michaels policy-makers actions “health
and safety of residence” did not apply to (Ps’). (Ds’) employees, police (Ds)
Gauss, Michaels, Reichling, out towing cars off private property, via (Ds)
Dwyer, Fouts, Michaels, via their policy. Td 39 ExL) Affidavit landlord,
tenant para 7-8 said Warren police were involved in the 5/1/20 4 car towing,
24 towing 7/7/21 towing (P) Honda-affiant witnessing. Td39 Ex P pic of
markings on Honda “WPD”=Warren Police Dept. 1* towing 5/1/20- 4
vehicles, as alleged “abandoned”, per (D) defense to court, 2"! towing as
“blight”, 7/7/21. See Ex Z Gov Whitmer order Td39, Ex 3 2020 in effect 1*

towing 5/1/20 Temporary requirement to suspend activities .. not necessary

Case 2:22-cv-10918-MFL-APP ECF No. 57, PagelD.831 Filed 02/09/23 Page 12 of 24

to sustain or protect life Covid.. can result in serious illness or death. ..Older
adults and .. chronic health conditions are at particular risk, and there is an

increased risk of rapid spread of covid.. close proximity to one another”

Td39 Ex Y “willful violation of this order is a misdemeanor” Ds Fouts,
Dwyer, Michaels, Reichling, Gauss were in violation gov emergency orders
Td39 ExZ. D mayor Fouts orders Td39 ExY adopting gov orders. (P)
NELSON Mi resident 7568 Hudson Ave Warren Mi, Td39 Ex A, Driver’s
License Td39 Ex C Lease-P lease residence (home=4" Amendment)
includes adjacent lot 7560 Hudson fenced Td39Ex D-pic fence, Doc 39 Ex B
pl-2 conveyance.. 7560 Hudson PID #13-333-278-008. Td39 Ex D, ExA
Td1, pic sent to D Michaels “uploaded .. May 01, 2020, 10.05 AM” cars-
Sentra, Mazda B4 towing. Other 2 vehicles not pic on adjacent lot. Td39 Ex
E p 1-2-title Mazda, Mazda Ex 2 Pic. Td39 ExF “Evidence of Coverage Mi

No Fault Insurance” 4 cars.

Td39 Ex G,-pic ticket wrote by D Gauss 5/1/20 7568 Hudson re tenant=
eviction stayed because of Covid and “harboring in place” telling tenant leave
when Covid raging, proving D Gauss @ scene 5/1/20 when cars towed.

P Honda was towed from behind, 7/7/21 damaging paint without notice or
“opportunity to be heard”, violated 4, 14th Amendment US Constitution. Ex H

Td39 article shows Mayor Fouts “personally involved”, See “promises kept” from

12

Case 2:22-cv-10918-MFL-APP ECF No. 57, PagelD.832 Filed 02/09/23 Page 13 of 24

Warren Website. Chupa v Morceri, Fouts, et al., Case #2:06-cv-12584, complaint
para 30. “Defendant Fouts’ action.. was wrongfully motivated by defendant Fouts’
desire to use municipal power to harass and injure plaintiffs”, showing Fouts
“custom and policy”. (P) NELSON 7/7/21 HONDA towed “operable” Td39 ExK
Afft P Ex 4 p1-2, Td39 ExJ-landlord afft contrary to court order tow “inoperable
vehicles” entered after vehicle towed. Td39 Ex I: Pic Car Speedway after left D
Service Towing Inc tow yard. Td39 Ex J court order dated 7/7/21 entered same day
Honda towed, Td39 Ex J Afft landlord P THROWER @3 “tow employees said
‘Honda cannot be towed without damaging it because it is at an angle behind the
house (7568 Hudson”, then towed. Td39 Ex J Afft P THROWER affiant states
“he was not in court 7/7/21”. P NELSON in hospital 7/7/21, Td39 Ex K Afft-&
attached Ex 4, cannot be deemed to have “constitutional notice” alleged order by
court 7/7/21 entered same day as car towed. Ds where aware other tenants in
property and did not ascertain who owned Honda before tow. Ds’ Michaels, Gass,
Reichling, Dwyer did not give Ps’ “notice & opportunity to be heard, .. right to
procedural due process.” Thompson v Ashe, 250 F3d 399, 407 CA6 Mullane v.
Central Hanover Bank & Trust Co., 339 US 306 “Notice must be reasonably
calculated...inform interested parties .. action ...opportunity to respond” Ds’
Gauss, Michaels, Reichling, Dwyer, Fouts, Doe police to go tow cars off private

property, 5/1/20, when covid raging, state, city under emergency orders “stay at

13

Case 2:22-cv-10918-MFL-APP ECF No. 57, PagelD.833 Filed 02/09/23 Page 14 of 24

home” Gov Emergency Orders Ex 3 pg 1-3, Ex Z Td39 Ex 30 p 1-8 D Fouts
2/26/2020 Emergency Orders.

Warren Courts open, & “policy” in Warren is to write a ticket on vehicle or any
alleged infraction, and then a court date is set. D Fouts Facebook (FB) pg inciting
Ds’, to attack “blight”. Ex H p 1-2 Td39 D Fouts FB “personally involved,
personally liable” as policymaker “ city of warren - State of the City .. June 24th, I
promised ..Warren landlords ..tickets for blighted homes . . violations International
Property Maintenance Code and a Td39 Ex J NILI v City of Warren, 2015 ED MI
Court opined International Property Maintenance Code was illegally applied by
City of Warren, (D) Fouts (D) City Council-for failing to have appeal process etc.
7/7/21 towing of P NELSON 2008 Honda without NOTICE, when P NELSON in
Macomb Ascension hospital. FB post states “blighted homes”. Td39 ExP
windshield P NELSON towed Honda 7/7/21, “blight”, WPD=Warren Police Dept
including D Dwyer-policymaker. Td39 Ex Q standard Warren Police
Commissioner contract gives (D) Dwyer “policymaking” authority over Warren
Police Dept. oxford blight: "vacant properties are a blight on neighborhood" P
NELSON Honda does not fit definition “blight”, windshield. Td39 Ex P, Ex2 pic
2012 Mazda towed. Td39 Ex K-Ex 4 hereto Afft Ps’ avers facts are true under
oath. Cars towed by Ds’ Service Towing Inc, et al no “probable cause” per 4"

Amendment US Constitution, no search warrant: “right of people to be secure ..

14
Case 2:22-cv-10918-MFL-APP ECF No. 57, PagelD.834 Filed 02/09/23 Page 15 of 24

persons, houses, papers, and effects, against unreasonable searches..seizures, shall
not be violated, .. no warrants shall issue, but upon probable cause” No “procedural
due process” re “notice and an opportunity to be heard” re taking vehicles 4,14th
Amendment of US Constitution City Warren thru policymakers Ds’ Fouts,
Dwyer, Michaels, employee Gauss knew or should have known had they been
properly trained “lack of training” towed vehicles was in violation of US
Constitution 4,5,14 Amendment 5/1/20, Ds ‘Gauss, Reichling, entered property
7568 Hudson Ave & adjacent lot (7560 Hudson Ave) owned by the same entity
and towed 4 vehicles, D Gauss was aware tenants in property Td39 Ex G pg 1-2. P
NELSON owned cars, a renter lease agreement =home Td39 ExC lease, ExA, ExD
insurance papers Td39 Ex E p1-2 Title Mazda, Ex 2 Pic Mazda, Ex 17,
SAFEAIRBAG.COM, “our records, you have 3 registered vehicles linked to your
address.. 7568 Hudson Ave” Federal Dept Transportation, knows P Nelson’s
address “airbag safety recall”. Td1 Ex A pic 5/1/20=2 vehicles parked @ 7568
Hudson Warren B4 towing pic Tdl Ex 1 & DOE-Michaels Asst City Attorney
“tow off private property”, bottom Td1 Ex A, 5/1/20 10.05 AM. D Reichling
assisted towing-or sent warren police doe officers to location, thru “custom and
policy” of D Dwyer. US constitution 4" Amendment does not allow city of
warren Gauss, Reichling to enter private property to inspect vehicles VIN or tow

vehicles or to call, conspire with (d) service towing inc, et al Ds & tow vehicles off

15
Case 2:22-cv-10918-MFL-APP ECF No. 57, PagelD.835 Filed 02/09/23 Page 16 of 24

private property without court order or take personal property. Gov Ex 3 pg 1-4, D
Fouts, Ex 30 pg 1-8 issued emergency orders covid pandemic. Gov “emergency
orders” did not suspend US Constitution. Td39 ExV: City of Warren received 3.5
% of its budget from forfeiture. Ds, Reichling, Gauss, Scott, Cummins should have
reviewed falsification paperwork 5/1/20 when vehicles towed and should’ve
informed (D) Michaels after running VIN #’s 4 vehicles were properly titled,
plated-Ex D: Td1 Registration Silverado, Ex E Tdi owner P NELSON. §1983 for
unconstitutional customs & practices. D Reichling doing statutory duty running vin
#’s before towing would show owner P NELSON 52 yr old woman “at risk’ during
covid-gov emergency order. Per Ex B Td 1 petition for hearing on abandoned
vehicle p. 2 MCL 257.252 “Before determining ..vehicle... is abandoned, police
check to see if it is reported as stolen”. Ex B Td1 “Complaint Number 20-18750”
yet still allowed 4 cars towed either by “failure to train” or entering conspiracy
private tow parties Ds’, or ‘deliberate indifference”.

Ps’ have US Constitutional right due process cl 5, 14" Amendment file police
report since physical paperwork shown Doe Warren police officer, Reichling,
address falsified to fit statutory definition abandoned vehicle Mi law. Doe officer
was going to file police report but overridden officer 2. This “failure to report a

crime” 5/1/20 when initial cars were towed and again on or about 7/21 attempt to

file police report. D Gauss Td39 Ex G pg 1-2, ticketed tenant 7568 Hudson 5/1/20

Case 2:22-cv-10918-MFL-APP ECF No. 57, PagelD.836 Filed 02/09/23 Page 17 of 24

“illegal occupation” of structure, when gov, D Fouts stayed evictions, exposing
failure to train actions by Ds’, deliberate indifference by policymakers Ds Fouts,
Michaels, Dwyer. P avers Petition for hearing on abandoned vehicle Td1 ExB is
void ab initio since caused to issue via falsified paperwork, falsified address
257.252a abandoned vehicle" means ..vehicle .. private property without consent
owner. (b).. public property ..48 hours, or on a state trunk line highway”
Discovery needed to ascertain if D Reichling 5/1/20 ran Vin #’s determined P
owner following law Td 1 Ex D, E Registration had he been properly trained & not
towed cars City of warren website “health and safety of our residents is our
priority. .. utmost importance .. residents informed ..unprecedented times” city
of warren covid” approved by (D) mayor Fouts”. Actions of Ds’ Ps’ life was
endangered by state actors creating a situation where P NELSON decided to
recover $30G cars-travel from low covid risk county OH to high covid risk county
MACOMB MI to retrieve P NELSON cars-enter Service Towing Inc., exposing P
THROWER to covid Ex 30 D Fouts 2/26/2020 orders name D “Dwyer” conferring
w/ D Fouts re covid. Ds’ Service Towing Inc, et al., had 6 in x 4 inch sign on
window “1 person in office” but Ds Service Towing Inc employees not enforcing
sign allowing anyone enter 7’x7’ waiting room. When helper retrieve vehicles 2
people in office, exposing P THROWER to higher incident covid in process. I.e.,

had P THROWER contacted covid in waiting room would’ve exposed P

Case 2:22-cv-10918-MFL-APP ECF No. 57, PagelD.837 Filed 02/09/23 Page 18 of 24

NELSON. D Fouts is “personally liable”, “personally involved” in decisions
running City of Warren. 6/21 Fouts state of city address Td39 Ex F, “get absentee
out of state landlords”, Td39 Ex G newspaper landlord (P Thrower) “arrested”
after D Fouts said “target out of state landlords” 7/7/21 P Honda towed parked
behind 7568 Hudson. Ds’ violated P’s 42 USC§ 1983, 1985-4,5,14 amendment
violation US Constitution to be free of unconstitutional search & seizure 5/1/20,
7/71/21. Ds all times relevant to action acting under color of state law. Ds
Reichling, Gauss via custom and policy acting thru policymaker Fouts, Dwyer,
Michaels made an unreasonable & warrantless seizure of P property, tow 4
vehicles, violating 4,14 Amendment US Constitution. At all times Ds’ Dwyer,
Michaels, Fouts acted pursuant to “policy or custom” in depriving P NELSON of
4 cars 5/1/20, 7/7/21 personal property without court order or opportunity be heard,
acting in individual capacities in conspiracy &/or concert with private parties. D
city of warren failed to adopt clear policies, failed to properly train its employees
Ds Gauss, police Reichling removing vehicles from private property during covid
emergency.

Ds’ taking P NELSON vehicles caused Ps' “at risk person” leave low covid
Cuyahoga County OH to come to high Covid county Macomb MI, exit “self

isolation” 7x+ covid exposure rate, 16x+ covid death rate, retrieve cars endangered

P’s life violates 42 USC Sec 1983, 1985,1988 in violation gov emergency orders,

Case 2:22-cv-10918-MFL-APP ECF No. 57, PagelD.838 Filed 02/09/23 Page 19 of 24

D Fouts emergency orders “P can ..invoke federal court jurisdiction.. suffered

.. threatened or actual injury resulting from .. putatively illegal action." Linda RS v
Richard D, 410 US 614, 617, Fouts, Dwyer, Michaels, Gauss, Reichling ignored
Gov emergency covid orders towing “threatened ..injury resulting from putatively
illegal action” Linda RS id., violated P due process, 4,5,14" Amendment US
Constitution. Ds’ violated P US Constitutional rights Due Process Cl 4, 5, 14%
Amendment when address falsified on paperwork submitted Mi Sec State give Ds’
alleged authority tow vehicles 5/1/20, & failed to allow Ps’ to file police report.
Ps' ask for order Ds’ policymakers Fouts, Dwyer, Michaels violated P US
Constitutional rights Due Process Cl 4,5,14" Amendment ensures no party will be
deprived of property without notice and an opportunity to be heard” Fuentes v
Shevin, 407 US 67, 80, protection of property ..extended to "any significant
property interest”,” uninterrupted use of one's vehicle.. property interest, .. before
‘local government may so interrupt its use, owner is entitled to due process’ Bell v
Burson, 402 US 535, 539. P states 4 vehicles towed off private property
registered, titled, plates, insured without notice, courts open without court order is
an improper seizure prohibited by 4th Amendment. .. include protection of privacy
against arbitrary invasion US v Ortiz, 422 U.S. 891,‘Jacobsen, 4" Amendment

protects 2 types of expectations, involving ‘searches,’ .. other ‘seizures.’ A ‘search’

19
Case 2:22-cv-10918-MFL-APP ECF No. 57, PagelD.839 Filed 02/09/23 Page 20 of 24

occurs.. expectation of privacy .. society.. is infringed. ...seizure' of property occurs
..interference ..individual's possessory interests" 4,14 Amendments Due process cl
§ 1983 for unconstitutional customs and practices. P avers “outrageous conduct” in
concert &/or conspiracy with Gauss, Reichling, Dwyer, Michaels, city warren.

Per complaint facts Ds’ violated Ps Constitutional rights US Constitution, 5, 14"
amendment, Due Process Cl 42 USC 1983, 1985, 1988. “42 USC 1983 imposes
civil liability ..person acting under color of state law who deprives another.. rights,
constitution” Kallstrom v Columbus, 136 F3d 1055, 1060 6CA “state ..not..greatly
increase..risk of harm .. citizens without due process of law through its own
affirmative acts” id 1066. P claims Ds’ Gauss, Scott, Does, Dwyer, Fouts,
Reichling, Michaels, Warren actions were liable for (Ps’) increased “state created
danger” theory of liability. “liability under state-created-danger theory ..affirmative
acts by state which either create or increase ..risk ..individual will be exposed to
private acts of danger” id. “to bring a ‘state created danger’ claim,..show:‘an
affirmative act by state.. either created or increased risk (P) would be exposed to an
act.. (2) a special danger to (P) wherein state’s actions placed (P).. at risk, ..
affects..public at large; 3) state knew or should have known..actions .. endangered
(Ps’)” Jones v Reynolds, 438 F3d 685, 690 6CA Harlow, 457 US @ 818
Kallstrom, “an individual’s ‘interest in preserving her life .. constitutional

dimension.”” Jd 1063 Ex3 gov emergency orders, covid, Ds’ Michaels, Fouts,

20

Case 2:22-cv-10918-MFL-APP ECF No. 57, PagelD.840 Filed 02/09/23 Page 21 of 24

Scott, Dwyer, Reichling knew or should have known towing 4 vehicles cause Ps’
exit self-isolation, violate Ds’ Fouts, Gov “emergency orders” to retrieve cars or
lose exposing P to “state created danger”, “1) affirmative act by state (employees)
.. either created or increased risk (Ps’) would be exposed 2)..special danger to
(Ps’)..state’s action placed (P).. at risk”, Cartwright v City of Marine City, 336 F3d
487, 493 CA6. Ds’ were aware of Covid, 5/1/20, Ds’ Fouts entering “emergency
orders”, Ex 23 Fouts 2/26/20 Press Release re covid. D “Dwyer” gov orders “self-
isolation” cause P exit self-isolation, retrieve cars. Ds’ policymakers Michaels,
Dwyer, Fouts, failure to train Reichling, Gauss. . Per Ex 5 “May 2, 2020” when

(Ps’) left Cuyahoga County, OH, New York Times Tracking Coronavirus “Daily

Average 63...” cases, of COVID 19. Per Ex 5 pg 5 pg 2,“May 2, 20, “Daily
average (deaths) 3.4 New Deaths 0”, Cuyahoga County. Ex12, Cuyahoga County
Pop. 1.241 million 2020. Ex 11, Macomb County Pop 870,893 2020, Ex 6

Macomb County “May 2, 20: “Daily Average 77” Covid cases. Hence, Macomb,

with 1/3 less population-had+14 new Covid cases day 5/2/20 than Cuyahoga
County. Per Ex 5 pg. 2, “May 2,20 Daily Average 3.4 New deaths 0” Cuyahoga
County. Per Ex 9“May 2,20 Daily Average 16 New deaths 11” Macomb County,
showing increased risk (P)16x+Death Rate-adjusted 30% more population. Ps’
were “self-isolating” Cleveland. Ex 22 Cuyahoga County Exec Budish, “Summer

2020..Covid....worst crisis we have lived through..”. Ds’ endangering Ps’ life thru

21
Case 2:22-cv-10918-MFL-APP ECF No. 57, PagelD.841 Filed 02/09/23 Page 22 of 24

their actions, “§1983 for unconstitutional customs & practices”. D Fouts 2/26/20
Press Release Ex 23,“implemented a public health management decision making
training for all Police...Covid (p3) Our residents can feel ease knowing that their
health and well being number-one priority. ..beginning w Commissioner Dwyer..
ensure your safety” & or § 1983 for unconstitutional customs & practices of Ds’
policymakers Fouts, Dwyer, See Td39 Ex Q p3 Sec 7.3 Duties .. Mayor D
Fouts,“enforcement of ordinances ..of council..”

Per facts Ds violated P US Constitutional rights Due Process 5,14 amendments
to make police report if laws broken. 7/21 Ps’ attempted make police report @
station D Reichling concerning “falsification” address 4 vehicles were towed.
Police officer Doe Complaint #20-18750 Tdl Ex B Pet for Hrg. This “failure to
report a crime” 5/1/20 cars towed & 7/21 attempt file police report violated P
Constitutional Due Process to “procedural due process” right “report a crime”, file

acomplaint. Gov Covid Order 4/30/20 “spread .. virus is for people to stay home

and keep their distance from others. .. hold on evictions’ Gauss Ex G Td39 ticket

tenant 7568 Hudson - in violation of gov orders- tenant eviction Td39 ExU,
annexed hereto Tsp Ex19#206101LT stayed 3/20 pandemic emergency orders
Td39, Ex Z gov emergency order No. 2020-70 in effect when cars towed 5/1/20.
Did falsifying address Td1 Ex B,C, Td39 ExW rise to Due Process violation 5, 14

Amendment US Constitution. Falsification is imputed to Ds’ Dwyer, Fouts,

22

Case 2:22-cv-10918-MFL-APP ECF No. 57, PagelD.842 Filed 02/09/23 Page 23 of 24

Michaels via lack of training, custom and policy, deliberate indifference.§1983 for
unconstitutional customs & practices. Sec of State cars registered ExB,C,D
Td1,ExE p1-2, ExWp1-3. Per Afft P NELSON Ex 4 pg 1-2, Td39 Ex K pg 1-2,
did Ps’ have Due Process, right to file a police report about 7/21/21 re falsification
of address, Monroe v Pape, 365 US 167, 174-76 Supreme Court held .. non-state
actors can, ...engage in conduct under “color of State law,” ..subject to liability
under..1983 .. “act jointly” or conspire with state government officials. Brentwood
Acad. v Tenn Secondary Sc. Ath Ass’n, 531 US 288, 296 “finding liability..criminal
law 1983, acting in “conspiracy”, “jointly”. At all times policymakers Ds Fouts,
Michaels, Warren, Dwyer, acted pursued policies, practices, deliberate indifference
..direct and cause of unconstitutional violations. Policies include, Dwyer, Fouts,
Michaels failure to supervise, Ds Reichling, Gauss. Ds’ Fouts, Michaels, Dwyer
have policy making authority Warren #2:21-cv-10446-DPH-APP ECF No. 1,
PageID.18 Filed 2/26/21 p 18/26 Warren to implement proper training for Warren
police officers, city workers. Warren historically failed to train Moldowan v
Warren, 157 F3d, 351, 393-394 6CA Warren imputed to policymakers Ds’ Dwyer,
Michaels, Fouts, Monell v Dep’t of Soc. Servs of NY 436 US 658, 691 “liability
attach when official .. caused a constitutional violation acting “final policymaker”,
i.e. policymakers Dwyer, Michaels, Fouts directing grills be seized, tow cars via

policy by D Gauss, Reichling. P grills taken 5/1/20, 7/7/21, Td39 Ex DD, Warren

23

Case 2:22-cv-10918-MFL-APP ECF No. 57, PagelD.843 Filed 02/09/23 Page 24 of 24

Weekly 4/21, grills legal in Warren, contrary D Fouts wishes. D Gauss, continue to
seize grills, in violation of 4/21 Warren Ordinance passed by Warren City council.

& or § 1983 for unconstitutional customs and practices of Ds’

En

Ibert Thrower pro’se

CERTIFICATE OF SERVICE

A copy of this motion has been served on all counsel for defendant’s 1“ class mail
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24
